Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 1 of 29 PagelD #: 387

COPY

IN THE UNITED STATES DISTRICT COURT ORIG. FILED
FOR THE DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION JUN 24 2094
EQUAL EMPLOYMENT § JOS#°H RAAS
OPPORTUNITY COMMISSION, § Clerk
Plaintiff, §
§
VS. § CIVIL ACTION NO. 03-4222
§
MITCHELL TEMPORARY and, §
DAKOTA PORK INDUSTRIES §
Defendants. §

DAKOTA PORK INDUSTRIES’ MOTION FOR SUMMARY JUDGMENT AND
ALTERNATIVE MOTION FOR PARTIAL SUMMARY JUDGMENT ON
MITCHELL TEMPORARY SERVICES CROSS CLAIMS

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant
Dakota Pork Industries, Inc. (“Dakota Pork”) asks this Court to enter judgment as a
matter of law on all cross-claims asserted by Defendant Mitchell Temporary Services
(“Mitchell”). In support thereof, Dakota Pork would show as follows:

I,
SPECIFIC SUMMARY JUDGMENT POINTS

1. South Dakota Law 53-9-3 prohibits indemnity contracts that attempt to exempt
a party to the contract from responsibility for that party's negligence or willful
injury to another. Here, Mitchell relies on its services contract in an effort to
obtain contractual indemnity from Dakota Pork for Mitchell's own unlawful,
negligent, discriminatory conduct. As such, the indemnity clause is
unenforceable as a matter of law.

2. The Mitchell indemnity clause contains no language requiring Dakota Pork to
indemnify Mitchell for Mitchell’s wrongful acts.’ This is a second, independent
reason the indemnity contract cannot require Dakota Pork to indemnify
Mitchell for Mitchell’s own negligence and unlawful conduct.

 

| See Exhibit A, the Mitchell Services contract, which is attached and incorporated by reference. Th's
contract was produced by Mitchell in conjunction with its Initial Disclosures on March 13, 2004,

EXHIBIT

sy, ;

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 2 of 29 PagelD #: 388

_3. Under both state and federal jurisdictions, the rule is that when a contract is
clear and unambiguous and speaks to a subject it is expected to, there is no
need to go beyond the four corners of the contract. Accordingly, Mitchel! is
bound exclusively by the contract and cannot seek to introduce extrinsic
evidence to support the allegations in its cross-claim. This principle is codified
by South Dakota statutory law 53-8-5, which provides that oral negotiations or
stipulations are superseded by a written contract. Thus, Mitchell may not
attempt to introduce parol evidence in an effort to vary, contradict or add to the
terms of the Mitchell services contract.

4. The Mitchell services contract unambiguously provides Mitchell with sole
responsibility for recruiting and assigning its employees to Dakota Pork. As an
example of Mitchell's exclusive control over its employees, the services
contract entitles Mitchell to sue Dakota Pork in the event Dakota Pork
unilaterally hires a Mitchell employee. Clearly, the Mitchell services contract
evidences the parties’ intent that Mitchell, not Dakota Pork, was vested with
sole discretion regarding which of its temporary employees were assigned to
Dakota Pork for temporary work. Alternatively, to the extent that any
ambiguity exists in the language of the Mitchell services contract, such
ambiguity must be strictly construed against Mitchell, the drafter, and in favor
of Dakota Pork’s reasonable construction of such language.?

Ik.
STATEMENT OF MATERIAL FACTS

1. On January 8, 2001, Varla Kryger filed a Charge of Discrimination against
Dakota Pork alleging that she was discriminated against in violation of the
Americans With Disabilities Act of 1990 ("ADA").

2. In its Original Complaint, the Equal Employment Opportunity Commission
(EEOC) sued Defendants Dakota Pork and Mitchell Temporary Services,
alleging that both parties unlawfully refused to hire her because she is deaf.=

3, Varla Kryger filed her Intervention into this lawsuit on March 3, 2004, alleging
discrimination by Mitchell and Dakota Pork under the ADA. In particular,
Kryger alleges that Defendants engaged in an ongoing pattern of
discrimination from February 28, 2000 until August 15, 2000, during which
time Dakota Pork hired less qualified applicants and refused to hire Kryger
because of her disability.*

 

2 See Exhibit B, Affidavit of Dan Jarabek.
3 See EEOC’s Complaint and Jury Trial Demand, filed on October 7, 2003, {ff
4 See Varla Kryger’s Complaint and Jury Trial Demand, filed on March 3, 2004, {[f] 18-54.
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 3 of 29 PagelD #: 389

-4. In conjunction with -its Original Answer to Plaintiff's Complaint, Mitchell
Temporary asserted a cross claim against Dakota Pork, which alleges that
Mitchell is entitled to contractual indemnity for “any liability as alleged in
Plaintiffs Complaint.”5

9. Mitchell's claim for indemnity is based on a services contract executed by
Mitchell and Dakota Pork on November 5, 1998.8 The contract relates to
Mitchell's placement of its employees at Dakota Pork for temporary work on an
“as needed” basis.”

Ul.
SUMMARY JUDGMENT STANDARD

Summary judgment is proper if there is no genuine issue as to any material
fact and the moving party is entitled to judgment as a matter of law.8 If the moving
party meets its burden of showing that no genuine issue of material fact exists, the
non-moving party must set forth specific facts showing that there is a genuine need
for trial, and that more than merely some metaphysical doubt exists regarding these
material facts? Partial summary judgment is likewise proper regarding any
undisputed issues of material fact.1°

IV.
CONCLUSION

For the reasons stated in this Motion and the accompanying Brief in Support,
incorporated herein for ail purposes, Dakota Pork respectfully requests that this Court
grant its Motion for Summary Judgment and dismiss all cross claims for contractual
indemnity that have been asserted by Mitchell Temporary against Dakota Pork

Industries, Inc. Alternatively, partial summary judgment is proper to the extent

 

> See Separate Answer of Mitchell Temporary and Cross Claim, p. 5-6.

6 See Exhibit A.

7 fed.

8 Feb. R. Civ. P. 56; Anderson v. Liberty Lobby, inc., 477 U.S, 242, 255-56 (1986); Celotex Coro. v.
Catrett, 477 U.S, 317, 331 (1986).

? Matsushita Electric industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).

IO FED. R. Civ, P. 56; J.F. Blackford y. Action Products Co., Inc., 92 F.R.D. 79, 79-80 {W.D. Mo. 1981}.
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 4 of 29 PagelD #: 390

Mitchell seeks indemnity for-its own negligence and unlawful, discriminatory conduct.
Dakota Pork further requests costs of court, attorneys’ fees, and any and all other

relief to which it may show itself justly entitled.
Respectfully submitted,

ALANIZ AND SCHRAEDER, L.L.P.

LEAMA.

Terry E. Schraeder

16010 Barker's Point Lane, Ste. 500
Houston, Texas 77079

Telephone: (281) 531-0927

Facsimile: (281}531-8024 :
George N. Manolis
Churchill, Manolis, Freeman,
Kludt, Shelton & Burns
P.O. Box 176
Huron, SD 57350-0176
Telephone No. (605) 352-8624
Facsimile No. (605) 352-2205

ATTORNEYS FOR DEFENDANT
DAKOTA PORK INDUSTRIES
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 5 of 29 PagelD #: 391

CERTIFICATE OF SERVICE

| certify that on the a day of June, 2004, a true and correct copy of
- Defendant Dakota Pork Industries’ Request Motion for Partial Summary Judgment
was forwarded by certified mail, return receipt requested, to the following:

Ann L. Fuller

Equal Opportunity Commission
Denver District Office

303 E. 17" Avenue

Suite 510

Denver, CO 80203

Jack Theeler

Morgan, Theeler, Wheeler, Cogley, & Peterson,-L.L.P
221 East Third Avenue

P.O. Box 1025

Mitchell, SD 57301-7025

Donald P. Knudsen .

440 Mt. Rushmore Road, Fourth Floor
P.O. Box 8045

Rapid City, SD 55709-8045

Cin

[pavic M. Minces
_— Case 4:03-c-04222-KES. .Défument 56.3 Filed O7/ia/0d_ Baye 6 of 29 PagelD #: 302—. - -

Exhibit 2 oN ae 7 -

MITCHELL TEMPORARY

Temporary Help and Secretarial Services

 

 

1317 West Havens
: Mitchell, SD 57301
CONTRACT NO: 1061 Rev. #1 Phone: (605) 996-1 160
CLIENT NAME: Dakota Pork tay 3) 996-5855
CONTACT: Dan Jarabek . Fax: (603) 996-9859
ADDRESS: 915 East Havens St. Mitchell

TELEPHONE: 605-996-2220

CLIENT hereby enters into 2 contract with MITCHELL TEMPORARY for the purpose of securing temporary
workers on an as-needed basis. The period of employment initially. specified may be altered without further
signature by either party on this agreement. ,

PERIOD OF ASSIGNMENT, SKILLS REQUIRED, JOB DESCRIPTION, EQUIPMENT TO BE USED, AND ,
ANY OTHER SPECIAL REQUIREMENTS: :

November 2, 1998, Temporary Employees will be notified that when there is work on Saturday anc Sunday,
they will be required to work those days as well as their regular schedule.

* Temporary employees will be notified by Dakota Pork on Monday about Sunday work and Thursday about
Saturday work.

RATES TO MITCHELL TEMPORARY: 5 11.90 PER HOUR (3°? Shift $ 12.45 PER HOUR (plus sales
tax where applicable), payable 15 days from the date of each weekly invoice. The temporary worker's time
sheet, signed by the employee and the CLIENT, will be delivered to MITCHELL TEMPORARY al the end of
the weekly pay period (or end of work assignment, if earlier). Federal laws require that all employses be paid
time-plus-one-half wages for over 40 hours’ work performed in one weekly pay period, and the rate to be paid
to MITCHELL TEMPORARY will be increased accordingly for said overtime hours.

MITCHELL TEMPORARY guarantees the aforementioned rates through 12-31-98.
The parties agree to review rates on an annual basis and, if agreed, to adjust rates in order to ensure that
MITCHELL TEMPORARY continues to be able tu recruit and retain high quality temporary employees.

MITCHELL TEMPORARY agrees to assume full responsibility for paying its temporary employees,
withholding and transmitting payroil taxes, making unemployment contributions, and responding to claims for
unemployment and workers’ compensation proceedings involving temporary employees. It is understood by
the CLIENT that MITCHELL TEMPORARY employees are covered by workers’ com ensation insurance, and
not by fidelity bond, and MITCHELL TEMPORARY assumes no other liability. CUTE Tet pee : :
cmp? dite ae feel A vgnel “4 tM aia ferns fe O@rceapeeayr Citra 1D be. “ig led gitar Fy a 7 ;
CLIENT agrees to indemnify and hold haemlass MITCHELL TEMPORARY and its employees from and

against any and all claims, lasses, actions, damages, expenses, liabilities, or claims for attorneys’ fees arising

out of or resulting from (a) the temporary employees’ use or operation of CLIENT’s owned, non-owned or !
leased vehicles, machinery, wrongful acts, decisions, statements, acts or omissions by the CLIENT, tis agents c"

employees or by any other person.

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_Gase 4:03-cv-04222-KES Document 56:3, Filed 07/13/04. Page 7.0f 29 PagélD #: 303.2.

Exhibit 2 Page z

MITCHELL TEMPORARY acknowledges that it and its temporary employees may be given access to or
acquires information, which is proprietary oc confidential to CLIENT and its customers. MITCHELL
TEMPORARY agrees to hold such information in strict confidence and agrees to advise its employees of their
obligation to keep such information confidential and to require its employees to enter into Confidentiality
Agreements for the protection of the CLIENT.

CLIENT acknowledges that MITCHELL TEMPORARY has incurred substantial recruitment, screening,
administcative and marketing expenscs with respect to its temporary employees. Accordingly, CLIENT agrees
not to direetly or indirectly offer tu hire or engage as an independent contractor any lemporary employee
assigned to CLIENT by MITCHELL TEMPORARY fora period of 12 months after completion of the
temporary employee’s payroll of any other firm for a like period, without the express written permission oF
MITCHELL TEMPORARY. In the event CLIENT violates this paragraph, CLIENT promises to promptly pay
MITCHELL TEMPORARY, as liquidated damages and not as a penalty, 5% of the temporary employee's
annualized compensation, and to reimburse MITCHELL TEMPORARY for its reasonable attorneys’ fees
incurred to enforce its rights hereunder.

CONVERSION FEE: In the event the CLIENT offers permanent employment on its payroli to any
MITCHELL TEMPORARY employee referred to them, and the temporary employee accepts employment with
the CLIENT, the CLIENT is responsible for payment of the Temp-to-Permanent position fee to Mitchell
Temporary. The fee not to exceed 5% of the employees annualized compensation. Ifthe MITCHELL
TEMPORARY employee has worked over 90 days at the CLIENT’s workplace in the last 12 months, the fee
will be waived. Credit will be given for days worked by the temporary employec (for examipte, ifthe temporary
employee has 30 working days at the CLIENT’s workplace, the fee will be reduced by one-third).

CLIENT agrees that the representative who signs this agreement is authorized to do so and that MITCHELL
TEMPORARY may rely upon that signature as binding upon the CLIENT.

The above conditions are herewith agreed ene the CLIENT and MITCHELL TEMPORARY on this
wy, day of A pect} “19 Fe.

 
   

 

MITCHELL TEMPORARY

 
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 8 of 29 PagélD #:394--

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION

EQUAL EMPLOYMENT §
OPPORTUNITY COMMISSION, §
Plaintiff, 8
§

ve § CIVIL ACTION NO. 03-4222
§
MITCHELL TEMPORARY and, §
DAKOTA PORK INDUSTRIES §
Defendants. §

AFEIDAVIT OF DAN JARABEK

 

Before me, the undersigned notary, on this day personally appeared Dan
Jarabek, a person whose identity is known toa me. After | administered an cath to
him, upon his oath, he said:

1. “My name is DAN JARABEK. | am over eighteen years of age, of sound
mind and am capable of making this affidavit. | have personal knowledge
of the facts stated In this affidavit, and they are true and correct.

2, | am the Personnel Manager at Dakota Pork Industries. | have held this
pasition since 1983. | am the person that signed the Mitchell Temporary
services contract on November 5, 1998. Attached as Exhibit "A" Is a true

and correct copy of this contract. My signature is on this document above
the word “CLIENT™ on page 2 of Exhibit "A."

3. | did not draft, write, revise or otherwise t in the preparation of the

terms of the contract attached as Exh “l “A” tf
a eee

Swom to and subscribed befare me by DAN a, on June 15, 2004.

Kitucd aac

'* Notary Pubhcirand tee in and
The State of South Dakota

A J PORK

My commission expires on: Hf - 7-200 Lo os aon _ ie

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“pyre

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 9 of 29 PagelD #: 395

COPY
ORIG. FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA JUN 2 2 7004
SOUTHERN DIVISION
EQUAL EMPLOYMENT Clerk
OPPORTUNITY COMMISSION,
Piaintiff,
Vv. CIVIL ACTION NO. 03-4222
MITCHELL TEMPORARY and,
DAKOTA PORK INDUSTRIES
Pefendants.

“06 069 607 C6 607 000 609 009 6)

BRIEF IN SUPPORT OF DEFENDANT DAKOTA PORK INDUSTRIES’ MOTION
FOR SUMMARY JUDGMENT AND ALTERNATIVE MOTION FOR
PARTIAL SUMMARY JUDGMENT ON MITCHELL
TEMPORARY SERVICES CROSS CLAIMS

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Dakota Pork
Industries, inc. (‘Dakota Pork’) files this Brief in Support of Dakota Pork Industries’
Motion for Summary Judgment and Alternative Motion for Partial Summary Judgment
-on Mitchell Temporary Services’ Cross Claims. In support, Dakota Pork would
respectfully show this Court that there is no genuine issue of material fact regarding the
enforceability of Mitchell Temporary Services’ (“Mitchell”} cross claims for indemnity. As
such, summary judgment is proper on all of Mitchell’s claims for contractual indemnity.
Alternatively, partial summary judgment is proper to the extent Mitchell seeks indemnity

for its own unlawtul, discriminatory conduct.
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 10 of 29 PagelD #: 396

" WABLE OF CONTENTS
|. TABLE OF CONTENTS wu... cccscesssessecssseesseesessnsesessssceaveesecaseceresicsaeenseavessessnsen 2
I. TABLE OF AUTHORITIES oocccccecccssesssessesesecsseesecssecsesesecsnecenennersesneessetsesens 3-4
II]. SUMMARY OF ARGUMENT ....cccsscccssscesseesseessececseessreeerseseneeeeeearerecernseresens 5-6
IV. STATEMENT OF FACTS wuccesccscccescessssessecsessscsascconeceneeseeeneesreenecaresnereeseseeens 6-7
V. SUMMARY JUDGMENT STANDARD... .cescccccccesceccsecsccercestessessneeesetearenseen 7
VI. ARGUMENT AND AUTHORITIES o.ccccccccccccccseseceetestsetseneneneeeeteeneeiees 8-14

A. SouTH DAKOTA STATUTORY LAW PROHIBITS INDEMNITY FOR
UNLAWFUL ACTS

B. THE MITCHELL INDEMNITY CLAUSE CONTAINS No LANGUAGE
REQUIRING DAKOTA PORK TO INDEMNIFY MITCHELL FOR
MITCHELL'S UNLAWFUL ACTS

C. CONTRACT CONFIRMS MITCHELL ALONE CONTROLLED WHICH
EMPLOYEES WERE ASSIGNED TO DAKOTA PORK

D. MITCHELL BOUND BY “FOUR CORNERS” OF SERVICES CONTRACT

E. ANY AMBIGUITY IN INDEMNITY PROVISION MUST BE RESOLVED IN
FAVOR OF DAKOTA PORK

VII. CONCLUSION 0.0... cece cic tence re ere essen rea ne eres reeset nena ener nga: 14

VII PRAYER FOR RELIEF ccccccccccccsccsscsssessrsverseseserserssscesartesessteseanieceeeess veces 15
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 11 of 29 PagelD #: 397

ll.
‘TABLE OF AUTHORITIES

A. CASE LAW

AFSCME Local 1922 v. State, 444 N.W.2d 10 (S.D. 1989)... ee 12
Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) «0.0... cece neers 7
Associated Engineers v. Job, 370 F.2d 633 (8™ Cir. 1967) oo... ceeceeeee ees 10
Bartak v. Bell-Gallyardt & Wells, Inc., 473 F. Supp. 737 (D.S.D. 1979)............ 13
Bell v: East River Electric Power Cooperative, Inc.,
535 N.W.2d 750 (S.D. 1995) oc ceeeeer etter et eee tere terete eeeees ner ensterers 13
Cefotex Corp. v. Catrett, 477 U.S. 317, 331 (1986)... ee 7
Chicago & Northwestem Transportation Co. v. V & R Sawmill, Inc.,
501 F. Supp. 278 (D.S.D. 1980)... ecient rete te renner rie 9
Clements v. Gabriel, 472 N.W.2d 480, 483 (S.D. 1991) 00. c eee 13, 14
Eberle v. McKeown, 159 N.W.2d 291 (S.D. 1968)... eee 13
Greene v. Morgan, Theeler, Cogley & Petersen, 575 N.W.2d 457 (S.D. 1997).. 8
Heinert v. Home Federal Savings & Loan Association of Sioux Falls, 444 N.W.2d
718, 720 (S.D. 1989)... eee re eer reer ener re rene rs ees 13
JF. Blackford v. Action Products Co., Inc., 92 F.R.D. 79 (W.D. Mo. 1981)........ ¢

Johnson y. Rapid City Softball Association, 514 N.W.2d 693, 705 (S.D. 1994)... 12

Matsushita Electric Industrial Co. v. Zenith Radio Corp

475 U.S. 574, 586-87 (1986) oe eer erent erie reer enn eee ees 7

Northwestern Public Service Co. v. Chicago & Northwestern Railway Co.,

210 N.W.2d 158, 160 (S.D. 1973)... net te ere eres 12, 13
Singpiel v. Morris, 582 N.W.2d 715 (S.D, 1998).......... cece eee te ete e cence ates 12
Schull Constr. Co. v. Koenig, 80 $.D. 224 (1963)... cece ce center nee renin 10

Thompson v. Dakota Indep. Oil Co., 288 N.W. 148 (S.D. 1939)... ee 12
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 12 of 29 PagelD #: 398

B. . RULES

lO FN 0 1 cae 0 Eee 1,7
c, STATUTES

South Dakota Codified Laws Ann. (S.D.C.L. § 53-9-3) (2004)... eee 5,8

South Dakota Codified Laws Ann. (S.D.C.L. § 53-8-5) (2004)... cece eeee ees 13
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 13 of 29 PagelD #: 399

- lik.
SUMMARY OF ARGUMENT

Mitchell’s cross-claim for indemnity is legally unenforceable as a matter of
law. First, Mitchell claims entitlement to contractual indemnity from Dakota Pork
for “all liabilities that Mitchell owes to the Plaintiff,” which would include indemnity
for Mitchell’s own discrimination against Plaintiff.1 In support, Mitchell relies on
an indemnity clause in the services contract between Mitchell and Dakota Pork.

Mitchell's proposed construction of this clause, if enforced, would violate
South Dakota law by requiring Dakota Pork to indemnity Mitchell for negligence
and discriminatory conduct attributable to Mitchell.2 Accordingly, the indemnity
clause cannot be enforced as alleged by Mitchell, and summary judgment is
proper on Mitchell's cross claim. Alternatively, to the extent total summary
judgment is not proper, partial summary judgment must be granted on Mitchell's
claim for indemnity for its own negligence and discriminatory conduct.

Second, Mitchell alleges the services contract provided Dakota Pork with
sole discretion to hire and assign Mitchell ermployees.2 However, the contract
contains no such provision.’ It is a longstanding rule of contractual construction
that courts look only to the four corners of a contract to ascertain the terms of the
contract and the intent of the parties. As such, Mitchell's request for this Court to
assume terms not explicitly included in the contract must be summarily rejected.

The plain language of the contract clearly and unambiguously provides

Mitchell with sole discretion to “recruit,” “retain,” “hire’ and “assign” “its

 

' See Separate Answer of Mitchell Temporary and Cross-Claim, p. 6.
2 See S.D.C.L. 53-9-3 (1998).
3 See Separate Answer of Mitchell Temporary and Cross-Claim, p. 5, 7 34.

4 id.
fA OS
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 14 of 29 PagelD #: 400

employees,” while also establishing their rates of pay.° Conversely, the contract
contains no language that provided Dakota Pork with discretion or contro! over
which Mitchell employees were assigned to Dakota Pork during the time period in
question.®

Any discrimination against Plaintiff related to temporary work at Dakota
Pork is attributable to Mitchell, who assigned its own employees. As such,
Mitchell’s atternpt to shift its own liability onto Dakota Pork on the basis of a
strained construction of its own indemnity clause must be rejected, and Mitchell's
cross claims should be dismissed with prejudice.

IV.
_ STATEMENT OF FACTS

On January 8, 2001, Varla Kryger filed a Charge of Discrimination against
Dakota Pork alleging discrimination in violation of the Americans With Disabilities
Act of 1990 ("ADA"}. In particular, Kryger alleges that Dakota Pork and Mitchell
Temporary engaged in an ongoing pattern of discrimination from February 28,
2000 until August 15, 2000, during which time Dakota Pork hired less qualified
applicants and refused to hire Kryger because of her disability.’

After Dakota Pork timely filed its response to the Charge, the EEOC
issued its Dismissal and Notice of Suit Rights on June 12, 2001, finding no
violation of the ADA. However, on August 27, 2001, the EEOC issued a Notice

of Intent to Reconsider. On November 28, 2001, the EEOC inexplicably reversed

 

5 See Exhibit A, Mitchel Temporary Services Contract, executed between Mitchell Temporary
and Dakota Park on November 5, 1998. A copy of this contract was produced in conjunction with
Mitchell Temporary Services’ Initial Disclosures and is therefore seif-authenticating.
S See Exhibit A.
? See Complaint and Jury Trial Demand filed by EEOC on September 26, 3003.

f

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 15 of 29 PagelD #: 401

-its position and issued a second Determination, finding that Kryger’s claim might
have merit.

On September 26, 2003, the EEOC filed its Original Complaint against
Dakota Pork and Mitchell Temporary.2 On December 24, 2003, Mitchell
Temporary filed is Original Answer and Cross Claim against Dakota Pork.? The
Mitchell cross claim must be summarily dismissed because it asks for relief that
would violate South Dakota law. Further, the cross claim relies on a purported

agreement not contained in the plain language of the contract.

V.
SUMMARY JUDGMENT STANDARD

Summary judgment is proper if there is no genuine issue of material fact
and the moving party is entitled to judgment as a matter of law.10 — [f the moving
party meets its burden of showing that no genuine issue of material fact exists,
the non-moving party must set forth specific facts establishing a genuine need for
trial, and that more than merely some metaphysical doubt exists regarding these
material facts.1’ If total summary judgment is not warranted, summary judgment

is proper for any undisputed issues of material fact.12

 

3 See Complaint and Jury Trial Demand, filed by EEOC on September 26, 3003.

” See Separate Answer of Mitchell Temporary and Cross-Claim.

10 Fep, R. Civ. P. 56; Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255-56 (1986); Celotex Corp.
v. Catrett, 477 U.S. 347, 331 (1986).

il Matsushita Electric Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).

'2 Fep, R. Civ. P. 56; UF. Blackford vy. Action Products Cc., ine., 92 F.R.D. 79, 79-80 (W.D. Mo.

1981).
AAG >
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 16 of 29 PagelD #: 402

Vi.
ARGUMENTS AND AUTHORITIES

A. SouTtH DaKoTA STATUTORY LAW PROHIBITS INDEMNITY FOR
UNLAWFUL ACTS

In South Dakota, contracts that violate public policy are legislatively
proscribed. Chapter 53-9 of South Dakota Codified Laws is entitled “Unlawful
Contracts" and enumerates the specific types of contracts that are unenforceable
as a matter of law. Among those prohibited are contracts that attempt to excuse
a party for liability arising from that party's own illegal conduct. Specifically, Law
53-9-3 provides as follows:

All contracts which have for their object, directly or indirectly,

to exempt anyone from responsibility for his own fraud or

willful injury te the person or property of another or from

violation of law whether willful or negligent, are against the
policy of the law.'s

1. The Mitchell Allegation

Despite the unambiguous mandate of Law 53-9-3, Mitchell has filed a
cross-claim against Dakota Pork seeking indemnity that would clearly violate
South Dakota Law. Specifically, Mitchell alleges the following in its cross-claim
against Dakota Pork:

Dakota Pork further agreed to indemnify Mitchell Temporary for any

liabilities or damages resulting from Dakota Pork’s actions, and

Mitchell Temporary is thereby entitled to_ indemnification from

Dakota Pork for any fiability as alleged in Plaintiff's
Complaint."4

 

I3 See S.D.C.L. § 53-9-3: Greene v. Morgan, Theeler, Cogley & Petersen, 575 N.W 2d 457, 465
(S.D. 1998).

14 See Separate Answer of Mitchell Temporary and Cross Claim, | 34 (emphasis acced).
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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 17 of 29 PagelD #: 403

2. The Liability Alleged by Varla Kryger and the EEOC

Clearly, the critical language in the Mitchell cross claim is its claim to
indemnity for “any liability as alleged in Plaintiff's Complaint.” Plaintiff's causes of
action include claims that Mitchell violated the ADA by refusing to assign Varla
Kryger to a temporary position at Dakota Pork because she is hearing
impaired.15 By seeking indemnity for “any liability as alleged in Plaintiff's
Complaint,” Mitchell claims entitlement to indemnity from Dakota Park for its own
discriminatory conduct. This variety of indemnity is clearly prohibited by South
Dakota Law, and Mitchell's construction of the indemnity clause, as set forth in
the Mitchell cross claim, must be rejected as a matter of law.*6

3. The Indemnity Language

The indemnity clause in question provides as follows:

CLIENT [Dakota Pork] agrees to indemnify and hold harmless

MITCHELL TEMPORARY and its employees from and against

any and all claims, losses, actions, damages, expenses,

liabilities, or claims for attorneys’ fees arising out of or

resulting from (a) the temporary employees’ use or operation

of CLIENT’s owned, non-owned or leased vehicles, machinery,

wrongful acts, decisions, statements, acts or omissions by the

CLIENT, its agents or employees or by any other person."’

Mitchell alone drafted this clause.18 As a result, Mitchell is bound by its

terms and limitations and Mitchell's attempt to broaden its scope in a self-serving

attempt to evade liability is improper.

 

i5 See Varla Kryger’s Complaint and Jury Trial Demand, {ff 18-54.

16 See Chicago & Northwestern Transportation Co. v. V & R Sawmill, Inc., 501 F. Supp. 278
(D.S.D. 1980).

|? See Exhibit A, p. 2.

'8 See Exhibit B, Affidavit of Dan Jarabek.
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 18 of 29 PagelD #: 404

B. THE MITCHELL INDEMNITY CLAUSE CONTAINS NO LANGUAGE
REQUIRING DAKOTA PoRK TO INDEMNIFY MITCHELL FOR MITCHELL’S
UNLAWFUL ACTS
In addition to the fact that Mitchell seeks indemnity that would violate

South Dakota Law, the indemnity clause also lacks any language that would
require Dakota Pork to indemnify Mitchell for Mitchell's wrongful acts. This
constitutes a second reason that Mitchell’s construction of the clause must be
rejected. In South Dakota, courts do not read into a written contract indemnity
provisions that are not expressly set forth therein.1? This rule ensures that
indemnitors are not legally required to assume liability unless they had fair notice
at the time the contract was executed.

Accordingly, there are two independent reasons Mitchell’s cross-claims
must be rejected. First, the indemnity sought by Mitchell would violate South
Dakota law. Second, the clause contains no language that can be reasonably
construed to require Dakota Pork to indemnify Mitchell Temporary for
discriminatory attributable to Mitchell. Because of this, the indemnity clause
should be either (1) severed from the contract: or (2) limited to indemnity relating

only to unlawful conduct that can be solely attributed to Dakota Pork at trial.

C. ConTRACT CONFIRMS MITCHELL ALONE CONTROLLED WHICH
EMPLOYEES WERE ASSIGNED TO DAKOTA PORK

In attempting to shift responsibility for its own discriminatory conduct onto
Dakota Pork, Mitchell also alleged the following in its cross-claim:

Mitchell Temporary had a contractual arraignment [sic] with

Dakota Pork, which agreement provided that the ultimate

decision for placing and accepting employees, was with
Dakota Pork and not with Mitchell! Temporary.~°

 

19 See Associated Engineers v. Job, 370 F.2d 633, 649 (8" Cir. 1987), citing Schull Constr. Co. v.
Koenig, 80 S.D. 224 (S.D. 1963).

20) See Separate Answer of Mitcheil Temporary and Cross-Claim, 9. 5, J 34.

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 19 of 29 PagelD #: 405

THe only accurate portion of Mitchell’s allegations is the contention that
Mitchell and Dakota Pork executed a services contract. The remainder of
Mitchell’s basis for seeking indemnity is clearly refuted by a cursory review of the
contract, which contains no such provision.21 Rather, the contract, which was

drafted exclusively by Mitchell, confirms that Dakota Pork had no discretion in

 

determining which Mitchell employees were assigned to Dakota Pork for
temporary work,22
In particular, the following provisions in the Mitchell services contract
confirm that Mitchell Temporary had sole discretion regarding which employees
were placed at Dakota Pork:
e¢ Mitchell establishes the rates of pay for its employees, pays
their unemployment contributions, and handies any worker's

compensation claims@3

« Mitchell guarantees the rates of pay for a specified time
period4

« Mitchell assumes full responsibility for paying its temporary
employees¢5

. Mitchell recruits, screens and markets its employees#6

« Mitchell assigns its employees and is contractually eniitled to
liquidated darnages in the event that Dakota Pork or any other
Mitchell client unilaterally hires a Mitchell employee without the
express written permission of Mitchell2?

As the above-referenced provisions clearly illustrate, Mitchell alone

controlled and assigned its employees to Dakota Pork. Thus, Mitchell's

 

“1 See Exhibit A.

22 Id,

23 See Exhibit A, p. 1.
24 dp. 1.

25 fd, p. 1.

29 id, p. 2.

27 id, p. 2.

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 20 of 29 PagelD #: 406

allegation that Dakota Pork contractually agreed to “place and accept” Mitchell
employees is contradicted by the plain language of the contract — a contract
drafted exclusively by Mitchell. Since Mitchell alone retained the right to decide
which of its employees were assigned to Dakota Pork, Mitchell is not entitled to
indemnity from Dakota Pork relating to the selection — or exclusion — of Varla
Kryger or any other employee Mitchell failed io assign to Dakota Pork for
temporary work. Therefore, summary judgment is proper on Mitchell's cross
claim.
D. MITCHELL BounD By “FOUR CORNERS” OF CONTRACT

Under bath state and federal iurisdictions, the rule is that when a contract
is clear and unambiguous and speaks to a subject it is expected to, there is no
need to go beyond the four corners of the contract.28 in examining a contract to
determine the intent of the parties, courts must consider the contract as a
whole.2? Accordingly, Mitchell is bound exclusively by the contract and cannot
seek to introduce extrinsic evidence to support the allegations in its cross-claim.
This principle is codified by South Dakota statutory law, which provides as
follows:

The execution of a contract in writing, whether the law

requires it to be written or not, supersedes ail the oral

negotiations or stipulations concerning its matter which
preceded or accompanied the execution of the instrument.*2

 

28 See AFSCME Local 1922 v. State, 444 N.W.2d 40, 12 (S.D. 1989); Johnson v. Rapid City
Softball Assn, 514 N.W.2d 693, 705 (S.D. 1994}.

29 See Singpiel v. Morris, 582 N.W.2d 715, 718 (S.D. 1998).

39 §.D.C.1..53-8-5.

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 21 of 29 PagelD #: 407

It is well settled that parol evidence is inadmissible to vary, contradict or
add to a written contract that is clear, definite and complete.1 Absent fraud,
mistake or accident, it is presumed that the written agreement expresses the final
intention of the parties upon the subject matter of the contract.%4 In determining
the validity of this presumption, a contract should be considered as a whole and
all parts and provisions examined to determine the meaning of any part.33

The effect of this rule in the instant case is that Mitchell is precluded from
relying on any supposed agreements or obligations that are not embodied in the
contract. Pursuant to this rule, Mitchell's contention that Dakota Pork agreed to
be ultimately responsible for “placing and accepting employees” must be
summarily rejected as a basis for shifting liability from Mitchell onto Dakota Pork.

E. ANY AMBIGUITY IN INDEMNITY PRoviSION Must Be RESOLVED IN
FAVOR OF DAKOTA PORK

When the language or intent of a contract is challenged, the burden of
proof is on the drafting party to clearly prove the provision is both legally
enforceable against the indemnitor and within the scope of the agreement.*4 If
the language in the challenged provision is ambiguous, the provision must be
given the construction advocated by the non-drafling party, typically the

indemnitor.25 Thus, to the extent that the Court finds the indemnity language to

 

31 See Northwestern Public Service Co. y. Chicago & Northwestern Railway Co., 210 N.W.2d
158, 160 (S.D. 1973), citing Thompson v. Dakota Indep. Oj! Co., 288 N.W. 148 (S.D. 1939).

32 Id,

33 See Northwestern Public Service Co., 210 N.W.2d at 160, citing Eberle v. McKeown, 159
N.W.2d 291 (S.D. 1968).

34 See Clements v. Gabriel, 472 N.W.2d 480, 483 (S.D. 1991); Heinert v. Home Federal Savings

& Loan Assoc. of Sioux Fails, 444 N.W.2d 718, 720 (S.D. 1989); Bartak v. Bell-Gallyarat & Weils,
Inc., 473 F. Supp. 737, 739 (0.5.0. 1979).

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 22 of 29 PagelD #: 408

be ambiguous, Dakota Pork's construction, if reasonable, must be given
conclusive effect regarding the parties’ intent.

The reason for this rule is that the drafting party - Mitchell — is the only
party with the opportunity to eliminate the potential for ambiguity by drafting an
indemnity provision that is clear and unambiguous.2* Because of this rule, any
ambiguity in the Mitchell contract is fatal to Mitchell’s cross claims. Regardless,
Dakota Pork's duty to indemnify Mitchell, if such a duty exists, applies only to
wrongful conduct solely attributable to Dakota Pork at the time of trial. This is a
reasonable construction of the Mitchell indemnity language and is the only
construction that is consistent with both the parties’ intent and South Dakota law.

VIE.
CONCLUSION

Pursuant to South Dakota law, the Mitchell indemnity clause is
unenforceable because it is relied upon by Mitchell to escape responsibility for its
own unlawful conduct as it relates to Varla Kryger. Here, the Mitchel! indemnity
clause violates South Dakota Law 53-9-3, and summary judgment is proper on
Mitchell's cross claim for indemnity. Alternatively, to the extent the clause is
partially enforceable, Dakota Pork's duty to indemnify Mitchell applies only to

unlawful conduct that is attributed exclusively to Dakota Pork at the time of trial.

 

36 See Clements, 472 N.W.2d at 483.
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 23 of 29 PagelD #: 409

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‘PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Dakota Pork Industries

respectfully requests an Order from this Court granting summary judgment on all

cross claims for indemnity asserted by Mitchell Temporary Services.

Alternatively, Dakota Pork Industries requests an order granting partial summary

judgment and requiring Dakota Pork

Industries to indemnify Mitchell only for

wrongful conduct assigned to Dakota Pork Industries at the time of trial.

Respectfully submitted,

SSA

Terry E. Schraeder

Alaniz & Schraeder, L.L.P.

46010 Barker's Point Lane , Ste. 500

Houston, Texas 77079

Telephone: (281) 531-0927

Facsimile: BOOST ee ys
SSS Low

George N. Mafiolis™

Churchill, Manolis, Freeman,

Kludt, Shelton & Burns

P.O. Box 176

Huron, SD 57350-0176

Telephone: (605) 352-8624

Facsimile: (605) 352-2205

 

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ATTORNEYS FOR DEFENDANT
DAKOTA PORK INDUSTRIES
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 24 of 29 PagelD #: 410

CERTIFICATE OF SERVICE

| certify that on the \\y day of June, 2004, a true and correct copy of
Defendant Dakota Pork Industries’ Request Motion for Partial Summary
Judgment was forwarded by certified mail, return receipt requested, to the
follawing:

Ann L. Fuller

Equal Opportunity Commission
Denver District Office

303 E. 17" Avenue

Suite 5710

Denver, CO 80203

Jack Theeler

Morgan, Theeler, Wheeler, Cogley, & Peterson, L.L.P
221 East Third Avenue

P.O. Box 1025

Mitchell, SD 57301-7025

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Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 25 of 29 PagelD #: 411

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

EQUAL EMPLOYMENT §
OPPORTUNITY COMMISSION, §
Plaintiff, §
: §

Vv. § CIVIL ACTION NO. 03-4222
§
MITCHELL TEMPORARY and, §
DAKOTA PORK INDUSTRIES 8
Defendants. . §

ORDER GRANTING DAKOTA PORK INDUSTRIES’ MOTION FOR SUMMARY
JUDGMENT AND ALTERNATIVE MOTION FOR PARTIAL
SUMMARY JUDGMENT ON MITCHELL TEMPORARY
SERVICES’ CROSS CLAIMS FOR INDEMNITY

On _, 2004, this Court heard Defendant Dakota Park
Industries’ Motion for Summary Judgment and alternative Motion for Partial
Summary Judgment. After consideration of the arguments, authorities and
summary judgment evidence, the Court is of the opinion that the motion has
merit, and should be GRANTED pursuant to FRCP 56.

Accordingly, IT IS ORDERED as follows:

The Mitchell Temporary indemnity clause is unenforceable as a
matter of law. Accordingly, all cross claims asserted by Cross-
Claimant Mitchell Temporary against Dakota Pork Industries are
hereby dismissed with prejudice.

Partial Summary Judgment is proper, and Cross-Claimant Mitchell
Temporary is not entitled to indemnity for any of its own negligent,
unlawful or discriminatory conduct. Accordingly, Mitchell
Temporary is entitled to indemnity only for negligence and unlawful

conduct that is attributed solely to Dakota Pork at the time of trial.

SIGNED this day of , 2004,

 

JUDGE PRESIDING
Case 4:03-cv-04222-KES Document 56-3 Filed 07/13/04 Page 26 of 29 PagelD #: 412

CERTIFICATE OF SERVICE

| certify that on the day of June, 2004, a true and correct copy of
Defendant Dakota Pork Industries’ Request Motion for Partial Summary
Judgment was forwarded by certified mail, return receipt requested, to the
following:

Ann L. Fuller

Equal Opportunity Commission
Denver District Office

303 E. 17" Avenue

Suite 510

Denver, CO 80203

Jack Theeler

Morgan, Theeler, Wheeler, Cogley, & Peterson, L.L.P
221 East Third Avenue

P.O. Box 1025

Mitchell, SD 57301-7025

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Wr" M. Minces
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Exhibit 2 8,

MITCHELL TEMPORARY

Temporary Help and Secretarial Services

 

 

 

1317 West Havens
Mitchell, SD 57801
CONTRACT NO: 1061 Rev. #1 Phone: (605) 996-1160
CLIENT NAME: Dakota Pork Fax: (605) 996-5855
CONTACT: Dan Jarabek .
ADDRESS: 915 East Havens St. Mitchell

TELEPHONE: 605-996-2220

CLIENT hereby enters into a contract with MITCHELL TEMPORARY for the purpose of securing ternporary
workers on an as-needed basis. The period of employment initially specified may be altered without further
signature by either party on this agreement.

PERIOD OF ASSIGNMENT, SKILLS REQUIRED, JOB DESCRIPTION, EQUIPMENT TO BE USED, AND
ANY OTHER SPECIAL REQUIREMENTS:

November 2, 1998, Temporary Employees will be notified that when there is work. on Saturday and Sunday,
they will be required to work those days as well as their regular schedule.

* Temporary employees will ke notified by Dakota Pork on Monday about Sunday work and Thursday about
Saturday work.

RATES TO MITCHELL TEMPORARY: $11.90 PER HOUR/3™ Shift$ 12.45 PER HOUR (plus sales
tax where applicable), payable 15 days from the date of each weekly invoice. The temporary worker's time
sheet, signed by the employee and the CLIENT, wiil be delivered to MITCHELL TEMPORARY at the end of
the weekly pay period (or end of work assignment, if earlier). Federal taws require that all employees be paid
time-plus-one-half wages for over 40 hours’ work performed in one weekly pay period, and the rate to be paid
to MITCHELL TEMPORARY will be increased accordingly for said overtime hours.

MITCHELL TEMPORARY guarantees the aforementioned rates through 12-31-98.
The parties agree to review rates on an annual basis and, if agreed, to adjust rates in order to ensure that
MITCHELL TEMPORARY continues to be able to recruit and retain high quality temporary employees.

MITCHELL TEMPORARY agrees to assume full responsibility for paying its temporary employees,
withholding and transmitting payroll taxes, making unemployment contributions, and responding to claims for
unemployment and workers’ compensation proceedings involving temporary employees. It is understood by
the CLIENT that MITCHELL TEMPORARY employees are covered by workers’ compensation insurance, and
Ae my

not by fidelity bond, and MITCHELL TEMPORARY assumes no other liability. CLIENT ah ee

expe dite ari f rpet 4 yor “ 4 Dea peg ren CI ee Cite ast tn be Gy led pita Fidaw :

CLIENT agrees to indemnify and hold hanno MITCHELL TEMPORARY and its employees from and
against any and all claims, losses, actions, damages, expenses, liabilities, or claims for attorneys’ fees arising
out of or resulting from (a) the temporary employees’ uss oF operation of CLIENT’s owned, non-owned or

teased vehicles, machinery, wrong/‘ul acts, decisions, statements, acts or omissions by the CLIENT, its agents 0°
employees or by any other person.
- - + (Case 4:03-Cv-04222-KES Document 56-3 Filed 07/13/04 Page 28 of 29 PagelD #: 414 . -

Exhibit 2 Page £

MITCHELL TEMPORARY acknowledges that it and its temporary employees may be given access to or
acquires information, which is proprietary or confidential to CLIENT and its customers. MITCHELL
TEMPORARY agrees to hold such information in strict confidence and agrees to advise its employees of their
obligation to keep such information confidential and to require its employees to enter into Confidentiality
Agreements for the protection of the CLIENT.

CLIENT acknowledges that MITCHELL TEMPORARY has incurred substantial recruitment, screening,
administrative and marketing expenses with respect to its temporary employees. Accordingly, CLIENT agrees
not to directly or indirectly offer to hire or engage as an independent contractor any temporary employec
assigned to CLIENT by MITCHELL TEMPORARY for a period of !2 months after completion of the
temporary employce’s payroll of any other firm for a like period, without the express written permission of
MITCHELL TEMPORARY. In the event CLIENT violates this paragraph, CLIENT promises to promptly pay
MITCHELL TEMPORARY, as liquidated damages and not as a penalty, 5% of the temporary employee's
annualized compensation, and to reimburse MITCHELL TEMPORARY for its reasonable attorneys’ fees
incurred to enforce tts rights hereunder.

CONVERSION FEE: In the event the CLIENT offers permanent employment on its payroll to any
MITCHELL TEMPORARY employee referred ta them, and the temporary employee accepts employment with
the CLIENT, the CLIENT is responsible for payment of the Temp-to-Permanent position fee to Mitchell
Temporary. The fee notto exceed 5% of the employees annualized compensation. If the MITCHELL
TEMPORARY employee has worked over 90 days at the CLIENT’s workplace in the last 12 menths, the fee
will be waived. Credit will be given for days worked by the temporary employee (for example, ifthe temporary
employee has 30 working days at the CLIENT's workplace, the fee will be reduced by one-third).

CLIENT agrees that the representative who signs this agreement is authorized to do so and that MITCHELL
TEMPORARY may rely upon that signature as binding upon the CLIENT.

The above conditions arg herewith agreed upon, py the CLIENT and MITCHELL TEMPORARY on this
Narn day of _ ber] 9%

ee

 
   

 

MITCHELL TEMPORARY

 
Case 4:03-cv-04222:KES Document 56-3 Filed 07/13/04 Page 29 of 29 Pagel #415: ~

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION
EQUAL EMPLOYMENT §
OPPORTUNITY COMMISSION, §
Piaintiff, §
§

ve §  CIVILACTION NO. 03-4222
§
MITCHELL TEMPORARY and, g
DAKOTA PORK INDUSTRIES §

Defendants. § |
AEFIDAVIT OF DAN JARABEK

 

Befora me, the undersigned notary, on this day personally appeared Dan
Jarabek, a person whose identity is known to me. After! adminietered an cath te
him, upon his oath, he said:

1. “My name is DAN JARABEK. | am over eighteen years of age, of sound
mind and am capable of making this affidavit. | have personal knowledge
of the facts stated In this affidavit, and they are true and correct.

2. | am the Personnel Manager at Dakota Pork Industries. | have held this
position since 1983. | am tha person that signed the Mitchell Temporary
services contract on November 5, 1998. Attached as Exhibit "A" is a true
and correct copy of this contract. My signature is on thls document above
the word “CLIENT” on page 2 of Exhibit "A."

3. | did not draft, write, revise or otherwise t in the preparation of the

terms of the contract attached as Exhibit “ on tf
f
A de é (et oe

DAN JARABEK)

Sworn to and subscribed before me by DAN JARABEK on June 15, 2004.

 

 
   

Notary Public in and
The State of South Dakota

My commission expires on: //— 7 -~200 L. Pe A

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